      Case 3:24-cv-00274-MAD-ML Document 2 Filed 02/24/24 U.S.
                                                           Page   1 of 6COURT – N.D. OF N.Y.
                                                               DISTRICT

                                                                         FILED
                     UNITED STATES DISTRICT COURT
                                                                     Feb 24 - 2024
                           Northern District of New York

                               6th Judicial Division                  John M. Domurad, Clerk



_______________________________________
                                       )
JANE DOE, JOHN DOE,                     )
JOHN DOE, JANE DOE                      )                            3:24-cv-274 (MAD/ML)
                                                           Case No.________________
                                       )
                     Plaintiffs         )
                                       )
          -against-                    )
                                       )
                                       )
JONATHAN REES aka GREG ELLIS           )
aka JOHNATHAN REES aka JONNY REES      )
aka JACOB LORENZO                      )
                                       )
                    Defendant           )
______________________________________ )


         PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
        THEIR MOTION FOR LEAVE FOR PLAINTIFFS TO APPEAR
                        ANONYMOUSLY

Plaintiffs Jane Doe et al, pro se, respectfully submits this Memorandum
of Law in Support of their Motion for Leave for Plaintiffs to Appear
Anonymously in this matter.


                      PRELIMINARY STATEMENT
Plaintiffs bring this action after enduring 15 months of ongoing attacks,
including child abuse, child endangerment by the Defendant and his
campaign of bullying, death threats, at one point, threats of suicide to
reel Plaintiffs back into his life, violence, doxing, extortion, distribution
of falsehoods and defamatory statements, along with two exclusive
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websites www.aprilchandlerlies.info and www.aprilchandlerfiles.com set
up by Defendant to destroy Plaintiffs business, livelihood, relationships,
physical, mental, and emotional wellbeing of all four Plaintiffs by
naming Plaintiffs on his exclusive websites and sending emails with
links to these websites far and wide to Plaintiffs clients, business
associates, work colleagues, management team, their friends with the
intention to cause harm, damage and chaos for Plaintiffs.
Respectfully, three of the Plaintiffs are minors Jane Doe (13 years), John
Doe (15 years), John Doe (17 years) who fear Defendant after Jane Doe
(13) experienced grooming and child abuse by Defendant (56), with him
climbing into bed with Jane Doe (13) causing anxiety, physical, mental
and emotional damage with Defendant continuing to reach out to Jane
Doe (13) after mother cut all ties with Defendant, with him asking to
build a friendship between the two of them — a minor and a grown man.
Their mother Jane Doe, who if disclosed would immediately
compromise children’s identities allowing Defendant to magnify his
abuse of Plaintiffs who have already gone through so much with
Defendant who for the last 5 months has increased his abuse and has
been contacting their schools to hurt each of them, along with submitting
reports to CPS with malicious false information resulting in CPS
interviewing Plaintiffs multiple times at school with their school
counselors, all deemed unfounded by multiple CPS Officers spanning
months. Defendant has also reported Plaintiff to ICE hoping for removal
back to Country of origin, and has contacted Plaintiff work colleagues,
business associates, and utilizing fake profiles and enablers to expand
his abuse and harassment of Plaintiffs further across social media and
contacting anyone associated to Plaintiffs, even their minor friends in
school with edited videos created from Defendants Ring cameras,
including Plaintiffs Sales Agent to terminate distribution deal for
Plaintiffs latest film project ruining Plaintiffs reputation, along with
disrupting her clients, production crew and distributor.
Importantly, Plaintiff may work in the Entertainment industry behind the
camera, however, Plaintiff is an extremely private person with limited
information shared about Plaintiffs private lives. Minors deserve privacy
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and protections from the court and given Defendants outrageous actions
to date, Plaintiff believes these proceedings will aggravate Defendant
further increasing his abusive behavior towards each Plaintiff with the
very real threat of him using court information to harm Plaintiffs.
Defendant states he’s a public figure with access to a large audience,
including his sizable social media following of more than 65,000
followers on Twitter (now known as X) and 17,000 followers on
Instagram and YouTube channel. Plaintiff has good reason to fear
Defendant will publish more stories about them in an effort to profit off
of their humiliation. Indeed, after Defendant’s ex-wife obtained a
restraining order against Defendant, Defendant wrote a book, “The
Respondent: Exposing the Cartel of Family Law,” and he appeared on a
television show and multiple YouTube influencer shows. Furthermore,
after Defendant’s ex-girlfriend obtained a 3 year restraining order
against Defendant for domestic violence he wrote an article about her
and sent it out to multiple news outlets and publicists, along with
sending out revenge porn to her business associates, friends and family
to humiliate her, also threatening to set up an exclusive website about
her and a podcast. Given Defendant’s abusive actions towards Plaintiffs
thus far, they have no reason to believe he would behave any differently
in this court matter and will use these proceedings to harass Plaintiffs
directly and indirectly via his enablers, fans and followers.
Therefore, Plaintiffs believe it is necessary that they proceed under a
pseudonym, “Jane Doe and John Doe” in this action, and that Defendant
be prohibited from otherwise publicly identifying Plaintiffs by filing
unredacted images, including photographs and videos, of them.
Additionally, while Federal Rule of Civil Procedure 10(a) generally
requires parties to expressly identify themselves in their respective
pleadings, federal courts have “carved out a limited number of
exceptions to the general requirement of disclosure . . . , which permit
plaintiffs to proceed anonymously.” Sealed Plaintiff v. Sealed Defendant
#1, 537 F3d 185, 189 (2d Cir. 2008). In Sealed Plaintiff, the Second
Court of Appeals endorsed the Ninth Circuit’s balancing test and held
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that “when determining whether a plaintiff may be allowed to maintain
an action under a pseudonym, the plaintiff’s interest in anonymity must
be balanced against both the public interest in disclosure and any
prejudice to the defendant.” The Second Circuit elaborated that several
non-exhaustive factors should be considered, including:
(1) whether the litigation involves matters that are highly sensitive and
of a personal nature, (2) whether identification poses a risk of retaliatory
physical or mental harm to the ... party [seeking to proceed
anonymously] or even more critically, to innocent non-parties (3)
whether identification presents other harms and the likely severity of
those harms, including whether the injury litigated against would be
incurred as a result of the disclosure of the plaintiff's identity, (4)
whether the plaintiff is particularly vulnerable to the possible harms of
disclosure . . . , (5) whether the suit is challenging the actions of the
government or that of private parties, (6) whether the defendant is
prejudiced by allowing the plaintiff to present [their] claims
anonymously, whether the nature of that prejudice (if any) differs at any
particular stage of the litigation, and whether any prejudice can be
mitigated by the district court, (7) whether the plaintiff’s identity has
thus far been kept confidential, (8) whether the public’s interest in the
litigation is furthered by requiring the plaintiff to disclose [their]
identity, (9) whether, because of the purely legal nature of the issues
presented or otherwise, there is an atypically weak public interest in
knowing the litigants’ identities, and (10) whether there are any
alternative mechanisms for protecting the confidentiality of the plaintiff.
Id. at 190 (internal citations omitted) (internal quotations omitted).
Application of these factors to a case rests in the sound discretion of the
district court. See Doe v. Smith, 1:19-CV-1121 (GLS/DJS), 2019 U.S.
Dist. LEXIS 205707, at *3 (N.D.N.Y. Nov. 27, 2019).
Here, nearly all of the relevant factors weigh in favor of granting
Plaintiff’s request to bring this litigation pseudonymously.
Further dissemination of the websites, along with media and social
media exposure, and the public’s linking of Plaintiffs names to
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Defendant’s bad acts, poses the risk of additional harm to minors and
reputational and emotional harm to Plaintiffs and is needlessly
revictimizing. See M.A. v. United States Citizen, 2023 U.S. Dist. LEXIS
123694, at *3-4 (S.D.N.Y. July 18, 2023) (granting plaintiff’s motion to
proceed anonymously and holding that if plaintiff’s identity were
revealed it could place him in danger); see also Smith, 2019 U.S. Dist.
LEXIS 205707, at *4 (finding that cases that risk garnering significant
media attention pose a risk of “further reputational harm” to plaintiffs).
Here, Defendant engaged in acts of child abuse, violence and extortion,
and his goal is to humiliate and harm Plaintiffs and would enjoy the
media exposure of abuse and violence embarrassing Plaintiffs ruining
their future prospects with no regards to protecting their identity as
minors leading to further bullying at their schools due to Defendants
actions so far.
Plaintiff’s ability to earn money as a filmmaker depends on reputation.
Defendant will not be prejudiced if Plaintiff were to appear
anonymously. See Black, 2023 U.S. Dist. LEXIS at *4; see also Grace
Baptist Church, 2022 U.S. Dist. LEXIS at *7 (finding defendant would
not be prejudiced if plaintiff remained anonymous). The Complaint will
be amended and will set forth the factual basis for Plaintiff’s claims in
great detail, Defendant knows the identity of the Plaintiffs, and
Defendant will have no difficulty understanding the allegations, seeking
necessary discovery, and defending against Plaintiff’s claims.
To date, while Defendant has defamed Plaintiffs widely amongst his and
Plaintiff's personal network, and set up two websites, he has not, to
Plaintiff’s knowledge, published their identities on his social media
platforms.
The public's interest in this litigation is not furthered by knowing the
identity of Plaintiffs as minors, who are very shy and private. While
Defendant is a public figure, and there may be public interest in the
litigation, the identity of his accusers, need not be revealed in order for
the public to have access to the necessary and pertinent information. In
fact, in this case, Defendant being a public figure more strongly supports
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the notion that Plaintiffs should be permitted to appear as “Jane Doe and
John Doe” Indeed, because of Defendant’s public status, this case could
draw unwanted and potentially harmful attention to Jane Doe and John
Doe. Defendant has a propensity to publish facts about domestic
violence cases brought against him and believe he would do the same in
regards to the violence and child abuse claims against him.
Plaintiff is not aware of any other mechanism to protect minors and her
reputation and confidentiality. See Smith, 2019 U.S. Dist. LEXIS
205707, at *6 (seeing no alternative way to protect plaintiff and
permitting plaintiff to proceed as “Jane Doe and John Doe”).
Here, Plaintiffs should be permitted to prosecute this action under a
pseudonym. Further, the parties should be prohibited from publishing
any unredacted documents that identify Plaintiff by image because such
actions would undermine Plaintiff’s ability to proceed anonymously.


                             CONCLUSION
For the reasons set forth above, Plaintiff respectfully asks that the Court
grant their Motion for Leave to Appear Anonymously, order that they be
permitted to appear as “Jane Doe and John Doe” respectively, prohibit
any party from publishing their private information or images in any
Court filings, and any other such relief as this Court deems just and
necessary.
                         Respectfully submitted,


                                 JANE DOE.
